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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION
                                   IN ADMIRALTY


Carl Schroter GmbH & Co. KG,                  )
                                              )       Civil Action No.: 2:20-cv-334-RMG
               Plaintiff,                     )
                                              )
vs.                                           )
                                              )
Smooth Navigation S.A.,                       )
                                              )
               Defendant.                     )

                                ORDER DISBURSING FUNDS

        Before the Court is an amended joint motion and stipulation by the parties for the approval

of the disbursement of the remainder of funds from the interlocutory sale of the MN

EVOLUTION, by agreement of the parties, as payment of certain remaining custodia legis

expenses and in rem claims. NOW, having reviewed the Amended Joint Motion (Dkt. No. 171)

and finding good cause exists to grant the motion, it is hereby:

        ORDERED, that the Amended Joint Motion and Stipulation for Disbursement of Funds

Currently held in the Registry of the Court from the Vessel's Sale Proceeds is GRANTED ;

        IT IS FURTHER ORDERED, that the Clerk of the Court shall disburse the sum of

$20,115.00 to the U.S. Marshal Service for the District of South Carolina for the commission due

pursuant to 28 U.S.C. § 1921. The funds shall be paid by delivering a check in the amount of

$20,115.00, said check payable to "United States Marshal Service." The check shall also include

a reference in the memo line as follows: "MN EVOLUTION, 2:20-cv-3 34-RMG. " Said check

shall be sent to the U.S. Marshal Service by mail or delivery to the following address:

        U.S. Marshal Service
        901 Richland Street, Suite 1300

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        Columbia, South Carolina 29201
        Attn: Sonya Adams

        IT IS FURTHER ORDERED, that the Clerk of the Court shall disburse the sum of

$8,940.00 to Defendant Smooth Navigation S.A. by delivering a check in the amount of$S,940.00,

said check payable to "Hines & Gilsenan LLC, as attorneys" for Defendant Smooth Navigation

S.A. and mail or deliver the check to:

       Ryan D. Gilsenan, Esq.
       Hines & Gilsenan LLC
       1535 Hobby Street, Suite 203D
       Charleston Navy Yard
       North Charleston, South Carolina 29405

       IT IS FURTHER ORDERED, that the Clerk of the Court shall disburse the sum of

$25,742.56 to Intervening Plaintiff The London Steamship Owners' Mutual Insurance Association

by delivering a check in the amount of $25 ,742.56, said check payable to "Hines & Gilsenan LLC,

as attorneys" for Intervening Plaintiff The London Steamship Owners ' Mutual Insurance

Association and mail or deliver the check to:

       Ryan D. Gilsenan, Esq.
       Hines & Gilsenan LLC
       1535 Hobby Street, Suite 203D
       Charleston Navy Yard
       North Charleston, South Carolina 29405

       IT IS FURTHER ORDERED, that the Clerk of the Court shall disburse the sum of

$280,220.37 to Intervening Plaintiff Praxis Energy Agents LLC, by delivering a check in the

amount of $280,220.37, said check payable to "Cooper & Bilbrey, P.C., as attorneys" for

Intervening Plaintiff Praxis Energy Agents LLC and mail or deliver the check to:

       John Hughes Cooper, Esq.
       Cooper & Bilbrey, P.C.
       1476 Ben Sawyer Blvd., Ste 11
       Mount Pleasant, SC 29464



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       IT IS FURTHER ORDERED, that the Clerk of the Court shall disburse the sum of

$47,230.75 to Intervening Plaintiff Stoney Marine International Limited, d/b/a Coleman Supply,

by delivering a check in the amount of $47,230.75 said check payable to "Luzuriaga Mims, LLP,

as attorneys" for Intervening Plaintiff Stoney Marine International Limited, d/b/a Coleman Supply

and mail or deliver the check to:

       W. Chase McNair, Esq.
       Luzuriaga Mims, LLP
       1156 King Street
       Charleston, South Carolina 29403

       IT IS FURTHER ORDERED, that once the Clerk of the Court issues the checks disbursing

the remainder of the funds from the Interlocutory Sale, and the Court having been advised by the

Parties that there will be no other substantive claims remaining for resolution by the Court, the

Parties shall file appropriate Stipulations of Dismissal within fourteen (14) days of the

disbursement of the funds. All other pending motions are denied as moot.

       AND IT IS SO ORDERED




June 12022
Charleston, South Carolina




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